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                                                     #:15506



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             5   Attorney for Defendant
             6   Shen Zhen New World I, LLC
             7
                                  IN THE UNITED STATES DISTRICT COURT
             8
                                      CENTRAL DISTRICT OF CALIFORNIA
             9
        10
                 UNITED STATES OF AMERICA,                   CR-20-326(A)-JFW
        11
                                Plaintiff,                   EXHIBITS TO JOINT MOTION IN
        12                                                   LIMINE NO. 10: SHEN ZHEN NEW
                     v.
        13                                                   WORLD I, LLC’S MOTION TO
                 SHEN ZHEN NEW WORLD I, LLC,                 EXCLUDE EVIDENCE OF JOSE
        14
                                Defendant.                   HUIZAR’S ALLEGED MONEY
        15                                                   LAUNDERING
        16
                                                             Date: September 23, 2022
        17                                                   Time: 8:00 a.m.
        18                                                   Crtrm: 7A
        19
                                                             Trial Date: October 25, 2022
        20                                                   Assigned to Hon. John F. Walter
        21
        22             Pursuant to the Court’s order (ECF 673), the parties hereby submit Exhibits
        23       to Joint Motion in Limine No. 10: Shen Zhen New World I, LLC’s Motion to
        24       Exclude Evidence of Jose Huizar’s Alleged Money Laundering.
        25             Counsel for Shen Zhen New World I, LLC was responsible for this filing
        26       and apologizes to the Court and the government for any inconvenience this may
        27       have caused.
        28
LAW
OFFICES OF
RICHARD M.
STEINGARD                                                1
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                                                  #:15507



             1   DATED: September 9, 2022                RICHARD M. STEINGARD
             2                                           Law Offices of Richard M. Steingard

             3
             4                                     By: /s/
                                                       RICHARD M. STEINGARD
             5                                         Attorney for Defendant
             6                                         SHEN ZHEN NEW WORLD I, LLC
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